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                                          April 26, 2023


VIA ECF
Honorable James Donato
Chambers of the Honorable James Donato
United States District Court
450 Golden Gate Avenue, 19th Floor
San Francisco, CA 94102-3489

    Re:     Avnet Inc. v. Hitachi Chemical Co. Ltd., et al., Case No. 3:14-cv-07046-JD;
            In re Capacitors Antitrust Litigation (No. III), Case No. 3:17-md-02801-JD

Dear Judge Donato,

       We write to advise the Court that early this morning, the father of Scott Wagner, counsel
for Avnet, passed away. Mr. Wagner’s father’s funeral will be taking place on Friday April 28 in
Florida. Avnet is prepared to proceed with the pretrial conference scheduled for tomorrow April
27 at 1:30pm. However, to allow the Avnet trial team to attend Mr. Wagner’s father’s funeral,
Avnet asks that the Court permit the parties to participate in the pretrial conference remotely via
Zoom. Avnet has informed counsel for Defendants, and they have no objection to proceeding
with the pretrial conference via Zoom.



                                             Respectfully submitted,

                                             Bilzin, Sumberg, Baena, Price & Axelrod LLP

                                             /s/ Robert W. Turken

                                             Counsel for Avnet, Inc.




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